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EXHIBIT 7

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION, MDL NO. 1917
This Document Relates to:

ALL ACTIONS

The Videotaped Deposition of DANIEL SCHUH,
Taken at 2550 Telegraph Road,

Bloomfield Hills, Michigan,

Commencing at 9:05 a.m.,

Friday, August 23, 2013,

Before Leisa M. Pastor, CSR-3500, RPR, CRR.

Case No. 07-5944 SC

DANIEL SCHUH, 30(b)(6)

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at Do you know if the price of LCD computer

2 monitors crossed paths with the price of CRT monitors
3 at a different time than the price of LCD televisions
4 crossed paths with the price of CRT televisions?

5 MR. TIETJEN: Objection to the form.

6| A. Not that I recall.
7 BY MR. FOSTER:
Bi| Ove Okay.

9 MR. GRALEWSKI: Join.

10| BY MR. FOSTER:

TU) Qrs Did you -- in preparing for today's deposition, is the
12 sort of history of when ABC Warehouse began and

3 stopped selling CRT finished products one of the

14 topics that you looked at?

15 MR. TIETJEN: Okay, I think that calls for

16 attorney-client privilege. I'll represent that we --

17 you know, we prepared for the topics that were -- that
18 were negotiated based on your -- your deposition

19 notice, but I'll instruct the witness not to answer

20 questions about what we specifically discussed.

2 MR. FOSTER: Okay.

22; BY MR. FOSTER:

23} .Q. Other than anything that you talked about with your

24 counsel, can you answer my question? If you -- if you

25 remember it.

21

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A.

know -- strike that.

How would the buyer know if one of his
competitors, one of ABC Warehouse's competitors was
selling a like product at a lower price?

MR. TIETJEN: Objection to form.

Perhaps by the weekly newspapers.

BY MR. FOSTER:

Q. Okay.

A. Television commercials.

On Okay.

A. Radio spots, visiting a competitive retailer and
seeing it at a lower price could all be factors that
could play into that.

Q. Okay. And would the buyer be responsible for
monitoring all of those different information sources
to try to find out whether the competitor -- if ABC
Warehouse's competitor was, you know, what their
prices were?

MR. TIETJEN: Objection to the form.
MR. GRALEWSKI: Join.

A. Ultimately, the buyer's responsibility to make sure
the product is priced correctly.

BY MR. FOSTER:

Q. Would you say that the -- because you list -- you
listed -- strike that.

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24

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A.

You want to read them all back to me then?

MR. GRALEWSKI: Join.

BY MR. FOSTER:

Q.

o > 0 bP O >

So the ones you listed that I wrote down and -- are
competition in the market relative to other retailers,
relative to other manufacturers, the time of year,
inventory, and products moving too slowly.
Possibly products moving too slowly.
That might be more important than other factors?
It would be.
Okay. And why is that?
Because the products are moving too slowly.
Why would that be an important factor in setting the
starting price of -- of the CRT finished products?

MR. TIETJEN: Objection to the form.

MR. GRALEWSKI: Join.
Because our goal is to sell products, and if we're not

selling them, that's a problem.

BY MR. FOSTER:

Q.

Okay. When you say products moving -- let me just --
if I understand, when you say products moving too
slowly, would that be other products, not the product
that you're trying to price at the time with the
starting price?

Could be --

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price for the CRT finished products but that often was
not the end price that was sold that -- that was paid
by the consumer, correct?
A. That's possible.
MR. GRALEWSKI: Object to form, misstates
testimony, lacks foundation.
BY MR. TIETJEN:
Oa So who would have input in deciding the price that the
consumer paid for the CRT finished products?
MR. TIETJEN: Object to the form.
A. The salesperson dealing with the consumer --
BY MR. FOSTER:
Q. Okay.
A. -- at the time of sale.
Q. Okay. And would anybody else -- would there be

anybody else?

A. Perhaps if you got a sales manager involved.
Q. Okay. Anybody else?
A. Not that I can think of at this time.
©. Okay. So the salesperson would have some leeway in
the price of the CRT finished products, right?
MR. TIETJEN: Objection to the form.
A. Correct.

BY MR. FOSTER:

@z Okay.

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MR. GRALEWSKI: Join, lacks foundation,
vague and ambiguous.

BY MR. FOSTER:

Q. And then he would have to -- sometimes he might have
to escalate it to his manager in order to continue
negotiations with the customer on the price; is that
fair?

A. That's possible, yes.

Q. Okay.

MR. GRALEWSKI: Object to form, lacks
foundation, misstates testimony, assumes facts.

BY MR. FOSTER:

Q. Would the sales manager -- would there be occasions
where the sales manager would have to escalate it to
someone above him?

MR. TIETJEN: Objection to the form.

BY MR. FOSTER:

Q. Okay.

A. It's possible.

Q. Okay, and who would that be?

A. He could possibly escalate it to a number of people

within the organization.
Q. Okay. Can you give me some -- can you tell me who
that might be?

A. Perhaps take it to the regional manager.

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BY MR. FOSTER:

Ora

A.

op er.

Is that -- is that right?

I could run every sale of that television and see what
each TV sold for.

But you wouldn't tell me -- you could tell -- you
could -- okay. But if I -- if I bought one of the
televisions, right --

Yep.

-- you couldn't tell me which one I bought?

‘By serial number?

Right.
I just said we don't track serial numbers.
Right, right, okay. So my -- so my question is if I
have a -- if I -- hold on. If TI -- you purchased a
thousand CRT televisions at a certain price froma
manufacturer, and those televisions were sold to
customers at different prices because of either the --
the manufacturer had a price move or the -- the
salespeople negotiated different prices on the floor,
it's impossible to tie a specific television back to
the purchase from the manufacturer because you don't
track model numbers; is that -- is that fair?

MR. TIETJEN: Objection to the form, I just
want to --

MR. FOSTER: Uh-huh.

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MR. TIETJEN: -- are you talking about
specific model numbers, or are being able to track the
units. In other words, you sold a thousand, and you
can account for each of the thousand.

MR. FOSTER: I'm talking about the specific
unit.

THE WITNESS: The specific television?

MR. GRALEWSKI: Object to the form,
argumentative, vague and ambiguous, compound,

misstates testimony.

BY MR. FOSTER:

Can you answer my question?

Again, are you asking can we track by serial number?
Well, I'm -- both -- I'm asking whether you can track
that television. I don't know whether that -- by
serial number would be the only way. I mean your

answer implies that I know how to do it and whether a

serial number is the only way to do it. If -- if

the -- are you suggesting that that's the only way to
do it?

I can --

MR. GRALEWSKI: Object to the form, vague
and ambiguous, compound, argumentative, misstates

testimony.

BY MR. FOSTER:

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1 MR. TIETJEN: Objection to the form.

2 MR. GRALEWSKI: Join, vague and ambiguous,
3 lacks foundation, calls for speculation.

4| A. I felt we had a -- we had a fair negotiating stance
5 with our vendors.

6| BY MR. FOSTER:

7| Q. Okay. Did you think that you had more negotiating

8 leverage than other -- some -- than your competitors
9 because of the volume that you did?

10 MR. TIETJEN: Objection to the form.

Wi MR. GRALEWSKI: Same objections.

12] A. No, I would think less.
13 BY MR. FOSTER:

14 Q. Less?

15] A. Less.

16 (Os Less than who?

17) A. Most -- most of our competitors are competitors ona
18 national level.

1S] “O).. Mm-hmm.
20; A. Much bigger than ABC.

Zulli Okay. I'm done with that document, thank you, sir.

22 You mentioned earlier that there were gross
23 margin targets that you tried to hit as a buyer.
24 MR. TIETJEN: Objection to the --

25| BY MR. FOSTER:

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24

25

A.
BY MR. FOSTER:

Q.

would have to be careful there because it's really one
and the same.
Okay.
If I'm asking for it for a hundred dollars and it
sells for $149, you know, the margin is going to be
what it is.
I see, I see. So they know what the margin is, they
just don't know the margin that you're trying to get
to; is that fair?

MR. TIETJEN: Objection.

Generally speaking, yeah.

Okay. And you wouldn't say, you know, in your
negotiations, it wouldn't be hey, let's -- can we bump
this up or drop this down, or whatever, so I can hit
this margin, this margin's important to me?

I don't recall any specifics like that.

Okay. But could that have happen happened?

It could have.

MR. TIETJEN: Object to the form.

MR. GRALEWSKI: Object to the form of the
question, misstates testimony, lacks foundation, calls
for speculation for this question and the prior two.

MR. TIETJEN: Well, let me just caution the

witness to slow down --

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